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                                       United States Court of Appeals for the Second Circuit
                                               Thurgood Marshall U.S. Courthouse
                                                         40 Foley Square
                                                       New York, NY 10007

              DEBRA ANN LIVINGSTON                                              CATHERINE O'HAGAN WOLFE
              CHIEF JUDGE                                                       CLERK OF COURT

              Date: March 28, 2025                                              DC Docket #: 1:19-cr-696-1
              Docket #: 25-332, 25-452, 25-543                                  DC Court: SDNY (NEW YORK CITY)
              Short Title: United States of America v. Teman                    Trial Judge - Paul A. Engelmayer




                                            NOTICE OF CLIENT SUBMISSION

              Court records in the above-referenced case list you as counsel to Appellant Ari Teman. The
              Clerk's office received the enclosed papers from your client in the above referenced appeal.
              Because you represent the sender as counsel the papers are forwarded to you for appropriate
              action.

              By copy of this notice your client is advised of this action.

              Inquiries regarding this case may be directed to 212-857-8551.
